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                                                                                                    11/05/2020



                                             THE CITY OF NEW YORK
JAMES E. JOHNSON                           LAW DEPARTMENT                                     JESSICA CLAIRE ENGLE
Corporation Counsel                             100 CHURCH STREET                            Assistant Corporation Counsel
                                                NEW YORK, NY 10007                                   Phone: (212) 356-0827
                                                                                                       Fax: (212) 356-3509
                                                                                                Email: jengle@law.nyc.gov
                                                                   November 4, 2020
      BY ECF
      Honorable Katherine H. Parker
      United States Magistrate Judge
      Southern District of New York
      500 Pearl Street
      New York, NY 10007

                             Re:    Henry Jones v. City of New York et al.,                                 11/05/2020
                                    18 CV 4064 (GBD) (KHP)
      Your Honor:
              I am an Assistant Corporation Counsel in the office of James E. Johnson, Corporation
      Counsel of the City of New York, and the attorney assigned to represent defendants City of New
      York, Daniel Ryan, and Ruben Serrano in the above-referenced matter. Defendants write jointly to
      respectfully request a two (2) day extension of time to submit a joint letter as ordered by the Court’s
      October 19, 2020 Order.
              By way of background, plaintiff commenced this action on May 7, 2018 and filed an
      Amended Complaint on February 11, 2020. See Civil Docket Sheet Entry Nos. 1, 71, 76.
      Following motion practice, the Court granted plaintiff an extension of time to serve the individual
      officers in this matter, and recommended that the Honorable George B. Daniels dismiss the officers’
      FRCP 12(b)(5) motion, and also dismiss defendant City’s pending FRCP 56 motion without
      prejudice. See Civil Docket Sheet Entry Nos. 136, 137. At that time, the Court ordered the parties
      to file a joint letter by November 4, 2020, proposing (1) a schedule for any additional discovery
      needed by the individual defendants, and (2) a briefing schedule for the anticipated summary
      judgment motion. See Civil Docket Sheet Entry No. 136.
              The parties respectfully request a brief, two-day enlargement of time, until November 6,
      2020, to file the joint letter ordered by the Court. The parties make this request because they are
      currently in the midst of discussions that may obviate the need for motion practice in this matter.
      The parties believe that they will be able to resolve these discussions by that date, and will then be
      in a position to provide the ordered update to the Court.
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      Thank you for your consideration and attention to this matter.


                                                          Respectfully submitted,

                                                                              /S/
                                                          Jessica C. Engle
                                                          Assistant Corporation Counsel
cc:   Via ECF
      Wylie Stecklow, Esq.
      Cary London, Esq.
      Attorneys for plaintiff




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